Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 1 of 13




              EXHIBIT C
             To Declaration of Matthew E. Sloan in
              support of Jinhua's MIL 6 [ECF 248]
    UNREDACTED VERSION OF DOCUMENT
                                   [illegible]Document
                Case 3:18-cr-00465-MMC         Attachment344-4
                                                          2    Filed 02/04/22 Page 2 of 13
                                                                                                    TRANSLATION
]Technology Cooperation           Agreement

This Technology Cooperation Agreement (hereinafter referred to as “the Agreement”) is made by and between United
Microelectronics Corporation, a company incorporated in accordance with laws of Taiwan with principal office located at
No. 3, Lixing 2nd Rd., Hsinchu Science Park, Taiwan (hereinafter referred to as “Party A”), and Fujian Jinhua Integrated
Circuit Co., Ltd., a company incorporated in accordance with laws of the People’s Republic of China with principal office
located in Jinjiang, Fujian (hereinafter referred to as “Party B”), on May 13, 2016 (hereinafter referred to as “Date of
Execution”).

Party A is leading in production and manufacturing of 12-inch semiconductor wafer and develops and owns many patent
rights regarding semiconductor wafer products, trade secrets, circuit layout right for integrated circuit and other relevant
intellectual property rights; at the moment, it has two running 12-inch semiconductor wafer plants and holds unique
information, knowledge and methods for 12-inch semiconductor wafer plant.

Party B plans to establish two 12-inch dynamic random-access memory (DRAM) production lines in Jinjiang under
Fujian of China and center on specific dynamic random-access memory (DRAM) products needed by local emerging
market of China; products thereof are mainly applied to: Internet of Things, big data, cloud computing, intelligent
terminals, wearable devices and the like, to firstly satisfy local customers of China.

Both parties will provide their own global resources in all respects to jointly conduct relevant technology development for
32/32S nanometer dynamic random-access memory (DRAM) process; and R&D cooperation will be carried out in a
designated area of Fab12A of Party A in Tainan Science Park (“Tainan R&D base”). After Party B’s production lines are
established, technology results jointly researched and developed by both parties shall be fully transferred to Party B so
that the premises in Jinjiang may realize mass production and Party B may continue to carry out subsequent R&D work
based on existing technologies.

Thus, both parties hereby agree on the following clauses with regard to technology cooperation:

Article 1 Definition

1.1 Technologies to be jointly developed based on the Agreement are: process technologies, design rules and the like for
     wafer of dynamic random-access memory (DRAM) arising from development of relevant process technologies of
     specially micro 32 nanometer (feature size, F value) dynamic random-access memory (DRAM) (hereinafter referred
     to as “32 nanometer”) and 32S nanometer dynamic random-access memory (DRAM) (hereinafter referred to as “32S
     nanometer”, and with 32 nanometer, collectively called as “32/32S nanometer”). See Attachment 1 for details of
     important parameters of the said 32/32S nanometer technologies and see Attachment 2 for details of estimated
     technology development time.




                                                    -1-                                                                    704
                                                                                                                     D-0000658
                  Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 3 of 13
                                                                                                        TRANSLATION
1.2 Intellectual property rights herein refer to: patent rights, business secrets, circuit layout rights for integrated circuit and
     other relevant intellectual property rights jointly obtained by both parties for joint technology development herein in
     the world.

Article 2 Technology Cooperation Scope

2.1 Unless Party A otherwise designates a time schedule, Party B shall purchase special R&D equipment and auxiliary
     facilities (hereinafter collectively called as “Special R&D Equipment”) and assume additional charges thereof such
     as freight and installation cost, total budget amounts to about USD 300 million (tax included), and Party B shall
     deliver the same to the Tainan R&D base and finish installation prior to October 31 of 2016 for joint development. In
     case of equipment installation, Party A shall offer assistance. List of Special R&D Equipment and detailed
     installation time schedule shall be otherwise provided by Party A.

2.2 To ensure that wafer design of dynamic random-access memory (DRAM) is completely integrated with relevant
     manufacturing technologies, both parties will jointly select an appropriate design service company as consultant to
     finish wafer design for dynamic random-access memory (DRAM) within the shortest period to meet the technology
     development time. Party B is responsible for cost of wafer design (including circuit design of testing devices and
     products) and photomask of dynamic random-access memory (DRAM).

2.3 Within five years from Date of Execution of the Agreement or prior to technology cooperation completion (whichever
     is earlier), Party A shall at least report work results and progress of the technology cooperation to personnel
     designated by Party B in writing every two months and conduct phase summary reporting every six months, and
     relevant information and materials shall be copied and retained by Party B.

2.4 Within Five years from Date of Execution of the Agreement, Party A shall use Special R&D Equipment to develop
     jointly developed technologies herein; and jointly developed technologies herein arising from the development or
     Party A’s provision of the technology service to Party B shall be jointly owned by both parties, and both parties have
     right to use the same; Party B shall be responsible for application, registration, maintenance and the like of relevant
     intellectual property rights to ensure both parties jointly own such intellectual property rights. In the future, in case of
     authorization, it shall still be jointly conducted by both parties in accordance with laws.

2.5 When Five years from Date of Execution of the Agreement expires or both parties otherwise conclude a written
     agreement, Party A shall cooperate with Party B and deliver Special R&D Equipment to carrier designated by Party
     B, and Party B shall assume relevant transport cost.

2.6 To assist Party B to realize mass production smoothly, Party A will recommend a consultancy company to provide
     necessary information consultancy and training services for production line establishment, planning, equipment,
     management and the like.

2.7 Where technologies jointly developed by both parties meet conditions in Item 7 of Appendix 1 and Item 6 of
     Appendix 2, technologies for 32/32S nanometer dynamic random-access memory (DRAM) products have been
     successfully developed. Party A shall support and help Party B gradually improve product yield thereof to 80% of the
     mass production level in the industry (for example: mass production level in the industry of yield is 85%, Party A
     shall help increase the yield to 85%*80% = 68%).




                                                      -2-                                                                      705
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                Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 4 of 13
                                                                                                      TRANSLATION
Article 3 Disclosure and Confidentiality Obligations of Technology Information and

3.1 After the Agreement is executed, Party A shall provide to Party B technical documents, parameters, data and the like
     regarding technologies jointly developed based on the Agreement and/or intellectual property rights in the
     Agreement in light of the time schedule determined by both parties, and provide Party B with all necessary
     technology consultancy and professional manpower for manufacturing wafer of dynamic random-access memory
     (DRAM) in accordance with the Agreement.

3.2 Confidential information referred to herein includes all technology information and confidential materials generated
     during joint development; without written consent of both parties, any party may not disclose, license, authorize,
     transfer to related parties thereof and/or any third-party or allow any related party and/or any third-party to have
     access to and/or use information and materials hereunder. Each party shall ensure that it will lay down corresponding
     rules and policies and inform directors, senior employees, technology personnel and other employees thereof
     (including related parties thereof) to strictly comply with confidentiality obligation specified in this clause.

Article 4 Fund and Tax & Dues of R&D Cooperation

4.1 Fund of R&D cooperation herein totals USD Four Hundred Million (USD 400,000,000), USD Two Hundred Million
     (USD 200,000,000) for 32 nanometer and USD Two Hundred Million (USD 200,000,000) for 32S nanometer, which
     shall be paid to an account designated by Party A by Party B in installments based on the time schedule in
     Appendixes 1 & 2, and both parties will otherwise negotiate and define such progress details as technology
     cooperation and fund under the Agreement.

4.2 Amounts above paid by Party B are tax/dues-included; if there are other taxes and dues, they shall be respectively
     assumed by both parties based on relevant local regulations. If Party B withholds and pay any tax of Party A in
     accordance with laws, Party B shall provide Party A with relevant withholding/payment documents and assistance to
     help Party A offset the payment or apply for drawback.

4.3 In total, Party A provides a personnel number and service period scope of 60 people*month at most for 32 nanometer
     and 32S nanometer (for example: ten people and respective six months, specific number of people and period shall
     be decided by Party A). Within this scope, Party A will assign personnel to perform obligations herein at Party B’s
     site, and relevant salaries, travel cost, additional pay, boarding and lodging cost, transport fee and the like shall be
     borne by Party A. For the exceeding part, Party B shall reimburse actual fees such as lodging cost and transport fees.

4.4 Prerequisite of payment: both parties agree that, Party B is only obliged to pay R&D fund based on the Agreement
     after Party B obtains performance compliance guarantee and definitely necessary approval of relevant competent
     governmental authority, and Party A needs to cooperate with Party B to provide relevant documents. If Party B needs
     to extend the payment period due to the approval procedures, Party A shall give understanding and cooperation,
     provided that, Party A is entitled to apply Article 8.1 to carry out relevant matters.




                                                        -3-
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                Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 5 of 13
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4.5 Party B will examine and accept technology results of Party A and specific examination and acceptance method shall
     be otherwise determined by both parties.

4.6 If necessary, Party B is allowed to engage a third-party institution to carry out special audit on use of R&D fund of
     Party B, and Party A shall, to the extent allowed by ordinances of Taiwan and approved by relevant competent
     authority, assist with the audit work.

Article 5 Guarantee

5.1 Based on the utmost good faith principle, Party A guarantees that it will fully provide relevant special technologies
     necessary for development cooperation hereunder it masters to the extent agreed by the Agreement and allowed by
     laws and regulations. Party A will not assume guaranty liability beyond the Agreement.

5.2 Any party shall follow the utmost good faith principle. If, during cooperation, it is found that technology risks
     obviously exist and are likely to lead to R&D failure in whole or in part, the other party shall be notified without
     delay and appropriate measures shall be taken to reduce loss of both parties, and both parties shall immediately
     consult with each other in good faith and deal with subsequent matters based on consensus reached during the
     consultation.

5.3 Where any part is aware that intellectual property rights herein are infringed by a third-party, it shall promptly notify
     the other party and consult with the other party for relevant solution.

Article 6 Improvements

6.1 Both parties shall also improve technologies jointly developed based on the Agreement and notify the other party of
     relevant improvement result in writing after the improvement is finished; and, all patent rights, business secrets,
     circuit layout rights for integrated circuit and other relevant intellectual property rights regarding such improvement
     result shall be jointly obtained by both parties. And, all patent rights, business secrets, layout rights for integrated
     circuit and other relevant intellectual property rights regarding results independently developed by Party B shall be
     owned by Party B.

Article 7 Authorization Period and Prerequisite

7.1 Effective term of the Agreement is in total 5 years from Date of Execution hereof.

7.2 Both parties shall notify the other party to extend the term of the Agreement within three months preceding expiry of
     the Agreement, and the same may be applied to periods following the extension.




                                                     -4-                                                                     707
                                                                                                                       D-0000661
                Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 6 of 13
                                                                                                       TRANSLATION
7.3 Prerequisite: both parties agree that, Party A is only obliged to make performance based on the Agreement after Party
     A obtains all necessary approvals of relevant competent governmental authorities, and Party B needs to cooperate
     with Party A to provide relevant documents. If Party A’s performance of obligations hereunder is suspended or
     delayed due to approval procedures of Taiwan and so on, both parties agree to accordingly postpone payment time of
     relevant fees.

Article 8 Breach and Termination

   8.1 If Party B’s payment of R&D cooperation fund under Article 5 is over 2 quarters in arrears, or Party B delays due
     to review of the Agreement on the part of relevant competent authority, or relevant competent authority of Party B
     revokes or terminates permit or approval obtained by Party B for the Agreement, in addition to exercising relevant
     rights based on Article 8.4 hereof, Party A is also allowed to suspend service referred to herein, which does not
     constitute breach of the Agreement.

8.2 If Party A is unable to finish 32 nanometer technology development within the period defined by Item 7 of Appendix
     1 (including grace period) and based on 32 nanometer technology indicators listed in Attachment 1, Party A will
     provide relevant team and technology guarantee to use existing workshops and equipment to develop business, and
     specific content shall be otherwise negotiated and a supplementary agreement shall be signed by both parties, and
     both parties shall proceed based on such supplementary agreement to the extent approved by relevant competent
     authority in Taiwan after approval of relevant competent authority in Taiwan is obtained. If Party A is unable to
     finish 32S nanometer technology development within the period defined by Item 6 of Appendix 2 (including grace
     period) and based on 32S technology indicators listed in Attachment 1, Party A shall return Seventy percent (70%) of
     paid-in R&D cooperation fund for 32S nanometer technology. Party A and strategic partners hereof will not
     participate in re-allocation of returned R&D cooperation fund.

8.3 If Party B’s delayed payment period exceeds 2 quarters, or permit or approval obtained by Party B for the Agreement
     is revoked or terminated, or Party B is unable to perform the Agreement due to occurrence of force majeure events
     such as act of God, both parties shall immediately consult with each other in good faith to the extent allowed by
     ordinances, and deal with subsequent matters based on legal consensus reached during the consultation, provided that,
     Party A only needs to return R&D cooperation fund collected based on the Agreement to Party B under conditions
     listed in Article 8.2.

8.4 If any party fails to perform any clause in the Agreement, and with written regular performance demand of the other
     party, still fails to make performance or correction, the other party may request damages and terminate the
     Agreement with a written notice.

8.5 If one party is insolvent, declared bankrupt, coordinate or dispose of business or main assets thereof with creditors
     thereof due to difficulty in settling liabilities, or treated with detention or seizure, so that performance of the
     Agreement is affected, the other party may notify such party in writing to immediately terminate the Agreement.




                                                      -5-                                                                        708
                                                                                                                           D-0000662
                 Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 7 of 13
                                                                                                      TRANSLATION
8.6 Prior to expiry of the term of the Agreement, both parties may always notify the other party in writing of its intention
     to terminate the Agreement in whole or in part, and with written consent of the other party, the Agreement will be
     terminated based on relevant termination agreement negotiated and approved in writing by both parties.

Article 9 Transfer and Amendments

9.1 The Agreement is binding on parties hereto, successors and transferees thereof.

9.2 Without prior written consent of both parties, rights and obligations of both parties hereunder may not be transferred
     to any third-party.

9. Without written consent of both parties, any party may not revise or supplement the Agreement at will.

Article 10 Waiver

10.1 If any party fails to exercise any right given by the Agreement, it does not constitute waiver of such right or prevent
     such party from exercising such right at any time.

10.2 Unless both parties hereto otherwise recognize in writing, waiver of part of rights specified by any clause in the
     Agreement does not constitute waiver of rights specified by the same clause or other clauses in the future.

Article 11 Governing Laws and Jurisdiction

11.1 Development cooperation of the Agreement involves respective most significant interests of both parties; thus, both
     parties agree to respect the most significant relationship provision of the other party, and any dispute or claim for
     reimbursement that arises from or is related to the Agreement shall be dealt with by an arbitration commission jointly
     selected by both parties through arbitration.

11.2 If any clause herein is invalid or regarded as invalid on the ground that it is in conflict with the most significant
     relationship provision of each party, both parties shall otherwise conclude an effective clause to replace the same,
     and such replacement clause shall be sufficient to represent true intention of both parties when they conclude the
     Agreement, and effect of the remaining clauses hereof will not be affected by such invalid clause.

Article 12 Entirety

12.1 The Agreement and relevant attachments hereto constitute the entire consensus of both parties regarding the matter
     agreed herein and supersede and replace all prior oral or written agreements.

12.2 The Agreement is an underlying agreement for cooperation between both parties, and for other matters not covered
     herein, both parties shall otherwise sign an agreement.

Article 13 The Agreement is made in sextuplicate; both parties respectively holds one copy, and the rest will be used for
     approval.



(The remainder is intentionally left blank.)




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                    Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 8 of 13
                                                                                       TRANSLATION

Party A: United Microelectronics Corporation           Party B: Fujian Jinhua Integrated Circuit Co., Ltd.

Authorized Representative:      [signature]                    Authorized Representative: [signature]

Date:                                                                          Date: [handwritten:] May 13,
     2016

[seal: illegible]                                                      [seal: Fujian Jinhua Integrated Circuit
     Co., Ltd.]




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               Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 9 of 13
                                                                                            TRANSLATION

Attachment 1



                             Important Parameters of 32/32S Nanometer Technologies



  Process        Cell     F Value     STI Pitch     Wordline Pitch     Bitline Pitch (nm)     Cylinder Pitch (nm)
Technology                 (nm)         (nm)            (nm)
   32 nm       2x3, 6F2     32           64              52                   80                     156
  32S nm       2x3, 6F2     29           62              42                   72                     144




                                                     -8-                                                      711
                                                                                                        D-0000665
                                                      Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 10 of 13
                                                                                                                                                                                        TRANSLATION

    Attachment 2



                                                                                        Estimated Technology Development Time



                       2016                                            2017                                                2018                                       2019                            2020
   Q1             Q2          Q3       Q4        Q1        Q2             Q3              Q4               Q1            Q2        Q3         Q4            Q1   Q2          Q3   Q4   Q1       Q2       Q3         Q4
Execution                          RD
                                   equipment
                                   in place
50 mn
32 nm       Provide a              Provide a          Finish optical   Provide                                       Finish             Project
            manufacturing          manufacturi        modification     Design                                        Good               company’s chip
            equipment list         ng process         and              Manual/SPI                                    Electrical         yield/reliability
                                                      lithographic     CE Model                                      Die on             reaches the
                                                      blocks                                                         Wafer,             success level for
                                                                                                                     provide            RD
                                                                                                                     complete
                                                                                                                     technology
                                                                                                                     information
            USD 30mn               USD 30mn           USD 30mn         USD 20mn                                      USD 20mn           USD 20mn
                                                                       32S nm       Provide a        Provide a                          Finish optical                  Provide             Finish             Project
                                                                                    manufacturing    manufacturing                      modification                    Design              Good               company’s
                                                                                    equipment list   process                            and lithographic                Manual/             Electrical         chip
                                                                                                                                        blocks                          SPICE               Die on             yield/reliabil
                                                                                                                                                                        Model               Wafer,             ity reaches
                                                                                                                                                                                            provide            the success
                                                                                                                                                                                            complete           level for RD
                                                                                                                                                                                            technology
                                                                                                                                                                                            information
                                                                                    USD40mn          USD40mn                            USD 40mn                        USD                 USD30mn            USD20mn
                                                                                                                                                                        30mn




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               Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 11 of 13
                                                                                                   TRANSLATION
Appendix 1

                         Time Schedule for Payment of R&D Fund for 32 Nanometer Technology

                              Terms of Payment             Temporarily     Amount            Time of
                                                           Fixed Time    (Unit: USD)     Payment/Remarks
                                                             (Note 1)
                 1     Both parties sign the                Q1, 2016     50,000,000    To be paid in Q2, 2016
                       Agreement
                 2     Party A provides a list of           Q2, 2016     30,000,000     To be paid within 90
                       manufacturing equipment for                                       days following the
                       32 nm                                                                 provision
                 3     Party A provides a                   Q4, 2016     30,000,000     To be paid within 90
                       manufacturing process for 32                                      days following the
                       nm                                                                    provision
                 4     Party A finishes optical             Q2, 2017     30,000,000     To be paid within 90
                       modification and lithographic         (Note)                      days following the
                       blocks                                                                provision
                 5     Party A provides Design              Q3, 2017     20,000,000     To be paid within 90
                       Manual/SPICE Model                    (Note)                      days following the
                                                                                             provision
                 6     Party A finishes Good                Q2, 2018     20,000,000     To be paid within 90
                       Electrical Die on Wafer and           (Note)                      days following the
                       provides relevant technology                                          provision
                       information
                 7     Party B’s wafer yield and            Q4, 2018     20,000,000      Party B produces 3
                       reliability for dynamic random-       (Note)                      batches of wafer for
                       access memory (DRAM) reach                                         dynamic random-
                       the success level for R&D                                            access memory
                                                                                       (DRAM), yield of each
                                                                                       batch reaches 40%, and
                                                                                          through 240 hours
                                                                                        HTOL, it is to be paid
                                                                                            within 90 days
                                                                                             following the
                                                                                              realization
             Total                                                    200,000,000
Note: Temporarily fixed time is preliminarily estimated by both parties on condition that Special R&D Equipment has
been fully installed on October 31, 2016. If it is unable to fully install Special R&D Equipment on October 31 of 2016 for
any reason, temporarily fixed time for Items 4-7 will be postponed to time starting from the moment when Special R&D
Equipment is fully installed based on the Agreement (T), i.e. T+2 quarters, T+3 quarters, T+6 quarters and T+8 quarters.
In principle, temporarily fixed times for Items 2-7 (including postponed temporarily fixed time) are respectively provided
with one quarter grace period, but total grace period shall be subject to one year.




                                                    -10-                                                               713
                                                                                                                 D-0000667
               Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 12 of 13
                                                                                                   TRANSLATION
Appendix 2

                        Time Schedule for Payment of R&D Fund for 32S Nanometer Technology

                             Terms of Payment             Temporarily     Amount             Time of
                                                          Fixed Time    (Unit: USD)      Payment/Remarks
                                                            (Note)
                 1     Party A provides a list of          Q4, 2017     40,000,000      To be paid within 90
                       manufacturing equipment for                                       days following the
                       32S nm                                                                provision
                 2     Party A provides a                  Q1, 2018     40,000,000      To be paid within 90
                       manufacturing process for 32S                                     days following the
                       nm                                                                    provision
                 3     Party A finishes optical            Q4, 2018     40,000,000      To be paid within 90
                       modification and lithographic                                     days following the
                       blocks                                                                provision
                 4     Party A provides Design             Q3, 2019     30,000,000      To be paid within 90
                       Manual/SPICE Model                                                days following the
                                                                                             provision
                 5     Party A finishes Good               Q2, 2020     30,000,000      To be paid within 90
                       Electrical Die on Wafer and                                       days following the
                       provides relevant technology                                          provision
                       information
                 6     Party B’s wafer yield and           Q4, 2020     20,000,000      Party B produces 3
                       reliability for dynamic random-                                  batches of wafer for
                       access memory (DRAM) reach                                        dynamic random-
                       the success level for R&D                                           access memory
                                                                                      (DRAM), yield of each
                                                                                      batch reaches 40%, and
                                                                                         through 240 hours
                                                                                       HTOL, it is to be paid
                                                                                           within 90 days
                                                                                            following the
                                                                                             realization
             Total                                                    200,000,000
Note: Temporarily fixed time is preliminarily estimated by both parties on condition that Special R&D Equipment has
been fully installed on October 31, 2016. If it is unable to fully install Special R&D Equipment on October 31 of 2016 for
any reason, temporarily fixed time for Items 1-6 will be postponed to time starting from the moment when Special R&D
Equipment is fully installed based on the Agreement (T), i.e. T+4 quarters, T+5 quarters, T+8 quarters, T+11 quarters,
T+14 quarters and T+16 quarters. In principle, temporarily fixed times (including postponed temporarily fixed time) are
respectively provided with one quarter grace period, but total grace period shall be subject to one year.




                                                   -11-                                                                714
                                                                                                                 D-0000668
              Case 3:18-cr-00465-MMC Document 344-4 Filed 02/04/22 Page 13 of 13
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